                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-01129

ERIC COOMER, PhD.,

      Plaintiff

v.

MICHAEL J. LINDELL, FRANKSPEECH LLC,
AND MY PILLOW, INC.,

      Defendants


                                 EXHIBIT 13
From:
Date: September 13, 2023 at 10:48:47 MDT
To: Charlie Cain
Subject: Dismiss Your Frivolous Lawsuit!


Good day Mr. Charlie Cain,

Please dismiss your very frivolous lawsuit against Mr. Mike Lindell. Mr. Lindell
is the world's hero! You are the world's villain.

In the name of the Father, Son and Holy Spirit, I rebuke Charlie Cain from
practicing law, because he is in violation of the rules, laws and constitution.

Charlie is guilty of abusing the court system against innocent people for his
own petty greedy benefit.

Lord, please push Mr. Lindell to file a counterclaim!

In the name of our Lord, Jesus Christ, fail Charlie Cain, remove all of his
assets!

Mr. Lindell, our world's hero, will NEVER pay you a penny! Charlie Cain will
lose and he will have to pay Mr. Lindell back all the money Charlie has cost
him!

Praise God! Amen = so shall it be!
